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                      Exhibit D:

  IRS Request for Information #2

               (February 8, 2012)
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I
I   Internal Revenue Service                                     Department of the Treasury
    P.O. Box 2508
I   Cincinnati, OH 45201

    Date: February 8, 2012

I   True the Vote
                                                                 Employer Identification Number:
                                                                  XX-XXXXXXX
                                                                 Person to Contact- Group #:
    C/0 Foley & Lardner LLP                                       Janine L Estes - 7829
I   Attn: Richard F. Riley
    3000 K Street NW, Ste 600
                                                                  ID# 0203052
                                                                 Contact Telephone Numbers:
    Washington, DC 20007-5109                                     513-263-3627 Phone
I                                                                 513-263-4590 Fax
                                                                 Response Due Date:
                                                                  February 22, 2012

I   Dear Sir or Madam:

    Thank you for the information submitted November 8, 2011 regarding your application for
    exemption. Unfortunately, we need more information before we can complete our consideration
I   of your application.

    Please provide the information requested on the enclosed Information Request by the response

I   due date shown above. Your response must be signed by an authorized person or an officer
    whose name is listed on the application. Also, the information you submit should be
    accompanied by the following declaration:

I         Under penalties ofperjury, I declare that I have examined this information,
          including accompanying documents, and, to the best ofmy knowledge and belief,
          the information contains all the relevant facts relating to the request for the
I         information, and such facts are true, correct, and complete.


I   If we approve your application for exemption, we will be required by law to make the application
    and the information that you submit in response to this letter available for public inspection.
    Please ensure that your response doesn't include unnecessary personal identifying information,
    such as bank account numbers or Social Security numbers, that could result in identity theft or
I   other adverse consequences if publicly disclosed. If you have any questions about the public
    inspection of your application or other documents, please call the person whose name and
    telephone number are shown above.

I   To facilitate processing of your application, please attach a copy of this letter and the enclosed
    Application Identification Sheet to your response and all correspondence related to your
I   application. This will enable us to quickly and accurately associate the additional documents
    with your case file. Also, please note the following important response submission information:


I   •   Please don't fax and mail your response. Faxing and mailing your response will result in
        unnecessary delays in processing your application. Each piece of correspondence
        submitted (whether fax or mail) must be processed, assigned, and reviewed by an EO
I       Determinations specialist.



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I   •     Please don't fax your response multiple times. Faxing your response multiple times will
          delay the processing of your application for the reasons noted above.
I   •     Please don't call to verify receipt of your response without allowing for adequate processing
          time. It takes a minimum of three workdays to process your faxed or mailed response from

I         the day it is received.

    If we don't hear from you by the response due date shown above, we will assume you no longer
    want us to consider your application for exemption and will close your case. As a result, the
I   Internal Revenue Service will treat you as a taxable entity. If we receive the information after
    the response due date, we may ask you to send us a new application.

I   In addition, if you don't respond to the information request by the due date, we will conclude that
    you have not taken all reasonable steps to complete your application for exemption. Under
    Internal Revenue Code section 7428(b)(2), you must show that you have taken all the

I   reasonable steps to obtain your exemption letter under IRS procedures in a timely manner and
    exhausted your administrative remedies before you can pursue a declaratory judgment.
    Accordingly, if you fail to timely provide the information we need to enable us to act on your
    application, you may lose your rights to a declaratory judgment under Code section 7428.
I   We have sent a copy of this letter to your representatives as indicated in Form 2848, Power of
    Attorney and Declaration of Representative.
I   If you have any questions, please contact the person whose name and telephone number are
    shown in the heading of this letter.

I                                                                                    \CUb
I
I   Enclosures: Information Request

    Cc:      Cleta Mitchell, Esq.

I            Richard F. Riley, Esq



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    Additional Information Requested:


I   1.     Provide a print-out of each of your website's pages or proposed website's pages, including
           any pages with restricted access.


I   2.     Provide details regarding all of your activity on Facebook and Twitter. Also, provide hard
           copies of all advertising you have conducted using social media outlets.

I   3.     Submit the following information relating to your past and present directors, officers, and key
           employees:
I          a) Provide a resume for each.
           b) Indicate the number of hours per month each individual has provided or is providing

I             services to you.
           c) Provide a description of all the services each individual provides or has provided to,y~~-~iff:~t:,.
           d) Indicate the total compensation provided to each individual.                              ·· ··· · · ··
           e) Describe how each compensation package was determined.
I          f) Indicate if any of your current and former officers, directors, and key employees are
              related to each other (Include family and business relationships) and describe the nature
              of the relationship.

I   4.     List each past or present board member, officer, key employee and members of their

I          families who:

           a) Has served on the board of another organization.
           b) Was, is or plans to be a candidate for public office. Indicate the nature of each
I             candidacy.
           c) Has previously conducted similar activities for another entity.
           d) Has previously submitted an application for tax exempt status.

I   5.     Do you have a conflict of interest policy? If yes, submit a copy.

I   6.     Provide minutes of all board meetings since your creation.

I   7.     Regarding your fund raising:


I          a)
           b)
                Provide copies of all solicitations the organization has made regarding fundraising.
                Provide copies of all documents related to the organization's fundraising events,
                including pamphlets, flyers, brochures, webpage solicitations.
           c)   Provide a listing and details regarding all fundraislng expenses.
I
    8.     Provide actual financial information for 2010 and 2011 and a budget for 2012. Provide
I          details regarding each item listed.



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I   9.     Provide a description of the collateral materials used by the organization.


I   10.    Although no salaries and wages on the financial information submitted with your initial
           application does the organization currently have or plan to have employees? Provide

I          the following information:

           a)   How many employees do you have?
           b)   Indicate the total of full-time, part-time, and seasonal employees?
I          c)
           d)
                If employees are part-time, when did/do they work?
                If employees are seasonal, during what season (months) did/do they work?
           e)   How many employees are/were devoted to each activity of the organization throughout

I               the year?



I   11.    Regarding your current and planned volunteers:

           a) How many volunteers do you have?
           b) How many volunteers are/were devoted to each activity of the organization throughout
I             the year?
           c) How many and what sort of resources are devoted to volunteer activities?


I   12.    In your Form 1023 application, you stated you conduct the following activities: Training
           Election Workers and Public Education. Provide the following information for all the
           events you have held from inception to the present:
I          a) The time, location, and content schedule of each event
           b) A copy of the handouts you provided to the audience
I          c) Identify the education and workshop materials that instructors used
           d) The names and credentials of the instructors
I          e) If speeches or forums were conducted in the event, provide detailed contents of the
              speeches or forums, names of the speakers or panels, and their credentials. If any
              speakers or panel members were paid, provide the amount paid for each person. If
I          f)
              not, please indicate that they volunteered to conduct the event.
                The names of persons from your organization and the amount of time they spent on
                the event. Indicate the name and amount of time they spent on the event. Indicate
I               the name and amount of compensation that was paid to each person. If no one was
                paid, indicate this event was conducted by volunteers to each person.


I   13.    Provide the following information for all the events you will conduct for 2012 and 2013:

I          a) The time, location, and content schedule of each event
           b) Identify handouts you provided to the audience

I          c) Identify workshop materials that instructors will use



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I          d) The names and credentials of the instructors
           e) If speeches or forums will be conducted in the event, provide detailed contents of the
I             speeches or forums, names of the speakers or panels, and their credentials. If any
              speakers or panel members will be paid, provide the amount will be paid for each
              person. If not, please indicate they volunteered to conduct the event.
I          f)   The names of persons from your organization and the amount of time they will spend
                on the event. Indicate the name and amount of time they will spend on the event.
                Indicate the name and amount of compensation that will be paid to each person. If
I               no one will be paid, indicate this event will be conducted by volunteers to each
                person.
           g) Indicate the percentage of time and resources you will spend on these activities in
I             relation to 100% of all your activities.



I   14.    You have stated you will recruit individuals to serve as election administration workers or
           as election observers. Provide the following information:


I          a) Explain the process used to recruit individuals willing to fill these positions.
           b) Provide copies of any materials distributed to recruit individuals.


I          c) How many individuals have you trained to date?
           d) How many individuals are currently undergoing training?
           e) How many elections have you provided election workers for?
I          f)   What percentage of individuals recruited go on to serve as administration workers?
           g) What percentage of individuals recruited go on to serve as election observers?

I          h) What percentage of individuals recruited do not go on serve as election workers?
           i)   Do you only train election workers for the state of Texas? If yes, do you plan to
                expand your activities to other states? List the states in which you plan to train
I               election workers. If you have already expanded provide a list states in which you are
                currently training election workers.
           j)
I               Are there any regulations that govern the role of an election observer? If yes,
                provide copies of the applicable regulations.



I   15.    You stated that election administration workers are trained by local election
           administrators. Provide the following information:
           a) Do election administration workers receive any training from you? Explain the
I             training received.
           b) If training is received from you how does this training differ from the training received
              by election observers?
I          c) When do the election administration workers receive this training: prior to the
              training, concurrently with the training, or after receiving the training from local

I             election administrators?




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    16.    You have stated the organization's materials are carefully vetted by election law experts.
           Provide the names and credentials of the election law experts used by the organization
I
    17.    You have stated the organization's voter integrity center will be staffed with legal and

I          election experts. Provide the names and credentials of the legal and election experts
           used by the organization.


I   18.    How many reports have election observers made to the voter integrity center? Of those
           reports how many have been elevated to the appropriate election administration official
           to correct the violation?
I
    19.    You have stated the organization may participate in civil lawsuits to compel compliance

I          with the election law. Provide a description of any of your organization's involvement in
           civil lawsuits to date.


I   20.    Provide the following information about the organization's voter registration integrity
           activity:


I          a) Explain the process used to recruit individuals.
           b) Provide copies of any materials distributed to recruit individuals.


I          c) Describe the training process used by the organization. Provide a copy of any
              training materials used.
           d) How many individuals have you trained to date?

I          e) How many individuals are currently undergoing training?
           f)   Identify the states in which the organization conducts, has conducted, or plans to
                conduct this activity.
I          g) In how many jurisdictions have you conducted this activity?


I   21.    You stated the organization has developed, through volunteers, a software capability for
           downloading the registered voter lists, then reviewing and indentifying potential
           inaccurate registrations. Is there any intellectual property rights associated with this

I          software? If so, who owns those rights?


    22.    You stated the organization is lessening the burdens of government by assisting
I          governmental bodies in accomplishing their requirements under law. You go on to state
           the organization's review of registration lists directly fulfills the HAVA requirements
           imposed on government and offers a resource to accomplish this task that many local

I          jurisdictions lack. Provide the following information:

           a) Has the organization ever been approached by a jurisdiction specifically to perform a

I             review of registration lists? If so, please explain.
           b) To your knowledge has a local election administration official ever used your review


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                of voter rolls to assist them in discharging their statutory obligation to maintain
                integrity of the voter registration rosters? If so, please explain.
I          c) In how many jurisdictions have you presented your review of voter rolls to election
              administration?

I   23.    You stated you will provide voter registration training. In addition to voter registration will
           you, or have you ever, conducted get out to vote drives, or publish or distribute voter
           guides? Provide the following information:
I          a) What is the location, date and time of the events?

I          b) Who on the organization's behalf have conducted or will conduct the voter
              registration or get out to vote drives?
           c) Provide copies of all materials published or distributed regarding the activities,

I             including copies of any voter guides.


    24.    You stated the organization may create documentaries. Provide copies of any
I          completed documentaries including printed transcripts.



I   25.    In regards to the organization's public education activities you state the organization
           seeks to educate the public and influential individuals. Define influential individuals.


I   26.    You stated the organization hopes to raise awareness of voter integrity tissues through
           strategic outreach efforts including media relations. Has your organization engaged in
           any activities with the news media? If so, please describe those activities in further
I          detail and, if available, provide copies of articles printed or transcripts of items aired
           because of that activity. News media activity may include the following:


I          a)
           b)
           c)
                Press releases
                Interviews with news media
                Letters to the editor
           d)   Op-ed pieces
I
    27.    In your initial application you stated True the Vote would like to see Texas enact
I          legislation to support the use of a Voter ID card. 20% of the budget would be used to
           support printing to educate on the cause. In your most recent response you stated True
           the Vote will provide information on its findings to elected officials. Provide the following

I          information regarding these activities:

           a) Provide copies of all communications, pamphlets, advertisements, and other mateti8rrs··~~.i~
                                                                                                         .. ~
                                                                                                            ....
              distributed by you regarding the legislation.                                              · ..•, ·
I          b) Do you conduct media advertisements lobbying for or against legislation? If yes, provide
              copies of any radio, television, or internet advertisements relating to the organization's
              lobbying activities.
I          c) Do you directly or indirectly communicate with members of legislative bodies? If so,
              explain the amount and nature of the communication.


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    28.    Are you a membership organization? Provide details regarding all members' fees and
           benefits.
I   29.    Do you publish or distribute materials or conduct other communications that are prepared by
           or reviewed by another organization? If yes, explain and provide a copy of such materials or
I          communications.



I   30.    Will you publish and/or distribute material in favor of any candidate for public office? If yes,
           explain.                            ·


I   31.    Do you or will you rate candidates? If yes, explain.



I   32.    Do you or will you endorse candidates? If yes, explain and answer the following:

           a)   Provide your endorsement criteria.

I          b)
           c)
           d)
                Once a candidate is endorsed, how does your organization handle the endorsement?
                Provide a list of all candidates you have endorsed.
                Does your organization notify the candidate of the endorsement? If yes, explain.

I          e)   Do you provide any materials to candidates, which they may use to promote their
                candidacy? If so, please describe and provide copies of those materials.



I   33.    You have indicated you have a close connection with King Street Patriots.

           a)   Provide the address of the organization.

I          b)
           c)
           d)
                Describe in detail the nature of the relationship.
                Do you work with the organization(s) regularly?
                Provide copies of all related contracts with such organizations.
           e)   Describe the nature of all contacts with the organizations.
I          f)   Do you share employees, volunteers, resources, office space, etc. with the
                organization(s)? If yes, explain.


I   34.    Are you associated with any other IRC 501(cX3), 501(c)(4) or 527 organizations? If yes:


I          a) Provide the name, federal employer identification number and address of each
              organization.
           b) Describe in detail the nature of the relationship(s).
           c) Do you work with the organization(s) regularly?
I          d) Provide copies of all related contracts with such organizations.
           e) Describe the nature of all contacts with the organizations.
           f) Do you share employees, volunteers, resources, office space, etc. with the
I             organization( s )? If yes, explain.



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    35.    Are you associated with any for-profit organizations? If yes:

I          a} Provide the name, federal employer identification number and address of each
              organization.
           b} Describe in detail the nature of the relationship(s}.

I          c} Do you work with the organization(s) regularly?
           d) Provide copies of all related contracts with such organizations.
           e) Describe the nature of all contacts with the organizations.
           f} Do you share employees, volunteers, resources, office space, etc. with the
I             organization(s}? If yes, explain.



I   36.    Do you engage in business dealings with any candidate( s) for public office or an
           organization associated with the candidate, such as renting office space or providing access
           to a membership list? If so, describe the relationship in detail and provide contracts or other

I          agreements documenting the business relationship.


    37.    Has any person or organization provided educational services to you? If yes, provide the
I          following:                                                                                                ·' ·"'"~;;,~.J;,;;. •

           a} The name of the person or organization.
I          b) A full description of the services provided.
           c} The political affiliation of the person or organization.


I   38.    Have you conducted candidate forums at which candidates for public office were invited to
           speak? If yes, provide the following:


I          a)
           b)
           c)
                Details, including the nature of the forums
                The candidates invited to participate
                The candidates that did participate
           d)   The issues discussed
I          e}
           f}
                The time and location of the event.
                Copies of all materials distributed regarding the forum and provided at the forum,
                including any internet material discussing or advertising the forum.
I
    39.    Have any candidates for public office spoken at a function of the organization other than a,;~: , .. ~,.,. J·""····

I          candidate forum? If yes, provide the following:

           a)   The names of the candidates
           b)   The functions at which they spoke
I          c)
           d}
                Any materials distributed or published with regard to their appearance and the event
                Any video or audio recordings of the event
           e)   A transcript of any speeches given by the candidate(s)
I
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                    PLEASE DIRECT ALL CORRESPONDENCE REGARDING YOUR CASE TO:

I                   US Mail:                       Street Address for Delivery Service:

                    Internal Revenue Service       Internal Revenue Service

I                   Exempt Organizations
                    P. 0. Box 2508
                    Cincinnati, OH 45201
                                                   Exempt Organizations
                                                   550 Main St, Federal Bldg.
                                                   Cincinnati, OH 45202
                    ATT: Janina L. Estes           ATT: Janina L. Estes
I                           Room 4525
                            Group 7829
                                                         Room4525
                                                         Group 7829


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                                                                     Catalog Number 57829T


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